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14   Attorneys for Plaintiffs and Petitioners John Williams, et al.

15                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
16                                   OAKLAND DIVISION
17                                                           )
     JOHN WILLIAMS, ROBERT VOGEL, SHEANNA                    )        Case No.: 3:22-cv-01274-LB
18   ROGERS, MICHAEL LOEB, JACQUELINE                        )
19   WATSON-BAKER, and HOUSING PROVIDERS                     )
     OF AMERICA, a 501(c)(4) non-profit Corporation,         )   STIPULATION REGARDING THE
                                                             )
20                                                           )   FILING OF A SINGLE COMBINED
                            Plaintiffs and Petitioners,          REPLY OF 35 PAGES
21                                                           )
           v.                                                )
                                                             )   Judge Laurel Beeler
22                                                           )
     ALAMEDA COUNTY, ALAMEDA COUNTY
     BOARD OF SUPERVISORS, CITY OF                           )
23                                                           )   Action Filed: March 1, 2022
     OAKLAND, OAKLAND CITY COUNCIL and                       )   Trial Date: None set
24   DOES 1-10,                                              )
                    Defendants and Respondents               )
25                                                           )
     ALLIANCE OF CALIFORNIANS FOR                            )
26                                                           )
     COMMUNITY EMPOWERMENT ACTION,                           )
27                   Defendant-Intervenor.
28
     ______________________________________________________________________________
      STIPULATION RE COMBINED REPLY                  1                       Case No.: 3:22-cv-01274-LB
                Case 3:22-cv-01274-LB Document 85 Filed 09/09/22 Page 2 of 4




 1          WHEREAS Plaintiffs John Williams, Robert Vogel, Sheanna Rogers, Michael Loeb,
 2   Jacqueline Watson-Baker, and Housing Providers of America (collectively, “Williams Plaintiffs”),
 3   intend to file their Reply Briefs in support of their Rule 56 Motion and in response to the
 4   Opposition Briefs of Defendants Alameda County and Alameda County Board of Supervisors,
 5   Defendants City of Oakland and Oakland City Council, and Intervenor-Defendant Alliance of
 6   Californians for Community Empowerment Action, on or before September 13, 2022, and
 7          WHEREAS the Williams Plaintiffs seek to promote convenience and judicial economy by
 8   filing a single combined Reply Brief consisting of no more than 35 pages of text rather than three
 9   separate reply briefs,
10          IT IS THEREFORE STIPULATED by and among the parties that the Williams Plaintiffs
11   may file a single combined Reply Brief in support of their Rule 56 Motion, and in response to the
12   Opposition Briefs of Defendants Alameda County and Alameda County Board of Supervisors,
13   Defendants City of Oakland and Oakland City Council, and Intervenor-Defendant Alliance of
14   Californians for Community Empowerment Action, consisting of no more than 35 pages.
15   DATED: September 9, 2022.
16   Respectfully submitted,
17
          ZACKS, FREEDMAN & PATTERSON,                 PACIFIC LEGAL FOUNDATION
18        PC
                                                        /s/ Jonathan M. Houghton
19        ANDREW M. ZACKS (SBN 147794)                 JONATHAN M. HOUGHTON
          EMILY L. BROUGH (SBN 284943)                 (N.J. Bar No. 369652021)
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     Attorneys for Plaintiffs and Petitioners John Williams, Robert Vogel, Sheanna Rogers, Michael
28                 Loeb, Jaqueline Watson-Baker, and Housing Providers of America

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      STIPULATION RE CONBINED REPLY                2                      Case No.: 3:22-cv-01274-LB
                Case 3:22-cv-01274-LB Document 85 Filed 09/09/22 Page 3 of 4



     DATED: September 9, 2022.             SHUTE, MIHALY & WEINBERGER LLP
 1
                                           By: /s/ Matthew D. Zinn
 2                                         MATTHEW D. ZINN
 3                                         EDWARD T. SCHEXNAYDER
                                           MINDY K. JIAN
 4
                                           Attorneys for Defendants and Respondents Alameda
 5                                         County and Alameda County Board of Supervisors
 6   DATED: September 9, 2022.             BARBARA J. PARKER, CITY ATTORNEY

 7                                         By: /s/ Cynthia F. Stein
                                           CYNTHIA F. STEIN
 8
                                           Deputy City Attorney Attorneys for Defendants and
 9                                         Respondents City of Oakland and Oakland City Council
10   DATED: September 9, 2022.             SUSMAN GODFREY LLP
11                                         By: /s/ Nicholas N. Spear
                                           MARC SELTZER
12                                         KRYSTA K. PACHMAN
13                                         GLENN C. BRIDGMAN
                                           NICHOLAS N. SPEAR
14                                         Attorneys for Intervenor-Defendant Alliance of
15                                         Californians for Community Empowerment Action

16   I hereby attest that all the above signatories have concurred in the filing of this document.
17
     DATED: September 9, 2022.             By: /s/ Jonathan M. Houghton
18                                            PACIFIC LEGAL FOUNDATION
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      STIPULATION RE CONBINED REPLY                  3                       Case No.: 3:22-cv-01274-LB
               Case 3:22-cv-01274-LB Document 85 Filed 09/09/22 Page 4 of 4



                                        [PROPOSED] ORDER
 1
            The parties having conferred and entered the foregoing Stipulation, which the Court has
 2
     reviewed, and good cause appearing, the Plaintiffs and Petitioners John Williams, Robert Vogel,
 3
     Sheanna Rogers, Michael Loeb, Jaqueline Watson-Baker, and Housing Providers of America,
 4
     may file a single combined Reply Brief in support of their Rule 56 Motion, and in response to the
 5
     Opposition Briefs of Defendants Alameda County and Alameda County Board of Supervisors,
 6
     Defendants City of Oakland and Oakland City Council, and Intervenor-Defendant Alliance of
 7
     Californians for Community Empowerment Action, consisting of no more than 35 pages.
 8
 9   IT IS SO ORDERED.

10
11          Dated: September 9, 2022.
12
13
                                                         _________________________
14                                                       Honorable Laurel Beeler
                                                         Magistrate Judge
15                                                       United States District Court for
16                                                       the Northern District of California

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      STIPULATION RE CONBINED REPLY                4                      Case No.: 3:22-cv-01274-LB
